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                   UNITED STATES DISTRICT COURT
                              FOR THE
                        DISTRICT OF VERMONT

JANET JENKINS, for herself and as  :
next friend of ISABELLA MILLER-    :
JENKINS, a/k/a ISABELLA MILLER,    :
                                   :
     Plaintiffs,                   :
                                   :
          v.                       :         Case No. 2:12-cv-184
                                   :
KENNETH L. MILLER, LISA ANN MILLER :
f/k/a LISA MILLER-JENKINS, TIMOTHY :
D. MILLER, RESPONSE UNLIMITED,     :
INC., PHILIP ZODHIATES,            :
individually and as an             :
agent for RESPONSE UNLIMITED, INC.,:
VICTORIA HYDEN, f/k/a VICTORIA     :
ZODHIATES, individually and as an :
agent for RESPONSE UNLIMITED,      :
INC., LINDA M. WALL, LIBERTY       :
UNIVERSITY, INC., RENA M.          :
LINDEVALDSEN, LIBERTY COUNSEL,     :
LLC,                               :
                                   :
     Defendants.                   :

                          OPINION AND ORDER

     Plaintiff Janet Jenkins, for herself and as next friend of

her daughter Isabella Miller-Jenkins, has brought suit against

several individuals and organizations alleging that they

kidnapped and conspired to kidnap Isabella.        Pending before the

Court is defendant Liberty University’s motion to reconsider and

amend the September 29, 2017 Order in which the Court denied the

University’s motion to dismiss.      The University argues that the

Court erred when it declined to dismiss the Plaintiffs’

conspiracy claims, which are each based upon a theory of

vicarious liability.    The University moves in the alternative for
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the Court to certify certain questions for appeal.         The

University has also filed a motion to stay discovery while the

motion for reconsideration is pending.

     For the reasons set forth below, the motion for

reconsideration is granted and the claims against Liberty

University are dismissed.     The motion to stay discovery pending

reconsideration is denied as moot.

                              Background

     The fundamental factual allegations in this case, which are

well known to the parties and the Court at this point, are that

several individuals conspired with Lisa Miller, the natural

mother of Isabella Miller-Jenkins, to kidnap Isabella and take

her out of the United States.     Those individuals allegedly

included Victoria Hyden, Rena Lindevaldsen and Matthew Staver,

each of whom were employed by Liberty University during the

relevant time period.    The University is named as a defendant due

to its role as an employer, and because it was allegedly

affiliated with Liberty Counsel, LLC, which represented Lisa

Miller in her family law litigation against plaintiff Jenkins.

The Revised Second Amended Complaint brings two causes of action

against the defendants: intentional tort of kidnapping and

conspiracy to violate civil rights.

     In its prior ruling, the Court held that Jenkins had stated

a plausible claim of vicarious liability against the University.


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The Court first found that some of Lindevaldsen’s alleged

misconduct was committed within the scope of her employment,

reasoning that “although Lindevaldsen was not employed primarily

to litigate family court cases for the University, the Court can

reasonably infer from the facts alleged that her work in

representing Lisa Miller was at least incidental to her job at

Liberty University.”    ECF No. 277 at 68.     As an example, the

Court noted that Lindevaldsen wrote a book about her legal work

with Miller, and used the book as a teaching tool at the

University.   Lindevaldsen also communicated with Miller overseas

while at the University.    Finally, the Court found that tortious

conduct “was not unexpectable by the University because it was

part and parcel of [Lindevaldsen’s] representation of Lisa

Miller.”   Id. at 69.

     The Court also relied on Section 219(2) of the Restatement

(Second) of Agency, which has been recognized by the Vermont

Supreme Court as relevant to assessing vicarious liability.            See

Doe v. Forrest, 853 A.2d 48, 56 (Vt. 2004).        Section 219(2)

provides that an employer “is not subject to liability for the

torts of [its] servants acting outside the scope of their

employment, unless: . . . (d) the servant purported to act or to

speak on behalf of the principal and there was reliance upon

apparent authority, or he was aided in accomplishing the tort by

the existence of the agency relation.”       The Court applied the


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second provision — aiding by virtue of an agency relationship —

here, explaining that some of Lindevaldsen’s tortious conduct was

allegedly committed with the help of Victoria Hyden, a part-time

student employee, each using the authority and resources afforded

them by the University.

     With respect to Defendant Staver, a law professor and dean

at Liberty University Law School, the Court found no vicarious

liability.   First, nothing in Staver’s role in representing Lisa

Miller was alleged to be “intertwined with his teaching and

administrative roles at the University as it was in

Lindevaldsen’s case. . . .     Nor is it clear that his

representation of Lisa Miller furthered the University’s

educational goals as much as Lindevaldsen’s, who wrote a book on

the basis of that representation that served to educate Liberty

University students.”    ECF No. 277 at 70-71.      The pleadings also

lacked any allegation that Staver had “abused his position at

Liberty University to further the goals of the conspiracy by, for

example, using Liberty University resources to communicate with

Lisa Miller in an undetected manner.”       Id. at 71.

     The University now asks the Court to reconsider its ruling

on the motion to dismiss.     The University contends in part that

reconsideration is warranted because the Court overlooked the

“control” element of vicarious liability.       The University also

criticizes the Court’s reliance on the “aiding” provision in the


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Restatement, contending that such a ruling runs the risk of

expanding vicarious liability to any employer whose common

workplace tools, such as email and telephone, are used by an

employee in the commission of an intentional tort or civil rights

violation.

                              Discussion

     The accepted standard for granting a motion for

reconsideration “is strict, and reconsideration will generally be

denied unless the moving party can point to controlling decisions

or data that the court overlooked.”      Analytical Surveys, Inc. v.

Tonga Partners, L.P., 684 F.3d 36, 52 (2d Cir. 2012) (citation

omitted).    Reconsideration may also be granted if the movant

demonstrates an “intervening change in controlling law, the

availability of new evidence, or the need to correct a clear

error or prevent manifest injustice.”       Kolel Beth Yechiel Mechil

of Tartikov, Inc. v. YLL Irrevocable Trust, 729 F.3d 99, 104 (2d

Cir. 2013) (citing Virgin Atl. Airways, Ltd. v. Nat’l Mediation

Bd., 956 F.2d 1245 (2d Cir. 1992)).      Liberty University has

satisfied this demanding standard.

     The Vermont Supreme Court has held that “[u]nder the

settled doctrine of respondeat superior, an employer or master

is held vicariously liable for the tortious acts of an employee

or servant committed during, or incidental to, the scope of

employment.”    See Brueckner v. Norwich Univ., 730 A.2d 1086,


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1090-91 (Vt. 1999) (citing Anderson v. Toombs, 117 A.2d 250, 253

(Vt. 1955); Poplaski v. Lamphere, 565 A.2d 1326, 1330 (Vt.

1989)).    “To be within the scope of employment, conduct must be

of the same general nature as, or incidental to, the authorized

conduct.    Conduct of the servant falls within the scope of

employment if: (a) it is of the kind the servant is employed to

perform; (b) it occurs substantially within the authorized time

and space limits; (c) it is actuated, at least in part, by a

purpose to serve the master; and (d) in a case in which the force

is intentionally used by the servant against another, it is not

unexpectable by the master.     Conduct of a servant is not within

the scope of employment if it is different in kind from that

authorized, far beyond the authorized time and space limits, or

too little actuated by a purpose to serve the master.”          Id. at

123 (citing Restatement (Second) of Agency §§ 228(1), 228(2),

229(1) (1958)).

     The University’s objection to the Court’s prior ruling

focuses in part on the question of control, as “[t]he really

essential element in the relationship of master and servant is

the right of control.”    Minogue v. Rutland Hosp., Inc., 125 A.2d

796, 798 (Vt. 1956); see also Breslauer v. Fayston Sch. Dist.,

659 A.2d 1129, 1134 (Vt. 1995); Restatement (Second) of Agency §

228 cmt. c (“there is no liability for the conduct of one who,

although a servant in performing other service, is doing work as


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to which there is no control or right to control by the

master”)).    The University contends that, even accepting the

Plaintiffs’ allegations as true, there is no plausible claim that

it had either actual or potential control over the conspiratorial

and tortious acts allegedly committed by Lindevaldsen and Hyden.

The University also submits that participation in a criminal

conspiracy to commit kidnapping cannot be said to have furthered

its interests.

     Indeed, Jenkins has offered no allegations or evidence that

the University controlled the alleged conspiratorial acts of

Lindevaldsen and Hyden.    Even if the Court goes beyond the

kidnapping scheme and considers more generally the legal

representation of Lisa Miller, there is no plausible claim that

the University had control over that representation.         In addition

to a lack of factual support, any such control by a third party

with regard to a lawyer’s conduct in litigation would be

problematic in light of the lawyer’s exclusive fiduciary duty to

her client.    See Strong v. Fitzpatrick, 169 A.2d 783, 786 (Vt.

2017) (noting that “an attorney owes a duty of care only to his

or her own client”).

     While Plaintiffs allege several links between the

University, Lindevaldsen, Hyden, and Lisa Miller, those

connections do not amount to a viable claim that Lindevaldsen and

Hyden were acting within the scope of their University


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employment.   Lindevaldsen taught at the University.        Her

representation of Lisa Miller was conducted in her separate role

as an attorney affiliated with Liberty Counsel.        Hyden was a

part-time student employee at the University, but there is no

allegation that her assigned tasks included involvement in an

alleged plot to remove Isabella from the United States.

     Upon reconsideration, the Court further finds that the

allegedly-conspiratorial actions by Hyden and Lindevaldsen were

neither incidental to their University employment nor expectable

by the University.   The University may have made its views public

with respect to same-sex relationships, and even supported Lisa

Miller’s position in litigation.       Nonetheless, conspiring to

kidnap a child and remove her from the country was not incidental

to or in the nature of the work that these defendants were hired

to perform.

     The Court’s prior ruling relied heavily upon the “aided”

prong in the last clause of Restatement Section 219(2)(d).             That

Restatement provision, as interpreted by the United States

Supreme Court and the Vermont Supreme Court, is predicated upon

the employer placing the employee/defendant in a unique position

of power that made possible the wrongful conduct at issue.             This

case does not fit within the confines of that interpretation.

     In Doe v. Forrest, a case involving police sexual

misconduct, the Vermont Supreme Court analyzed Section 219 at


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length.   853 A.2d at 55-67.    Forrest focused upon the authority

that is bestowed upon a police officer by his or her employer,

and the responsibility borne by the police department for

granting that authority.     The Forrest court took particular

guidance from the U.S. Supreme Court’s discussion in Faragher v.

City of Boca Raton, 524 U.S. 775 (1998), which determined that in

a case of supervisor sexual harassment the employer could be held

vicariously liable because the supervisor’s authority was “made

possible or facilitated by the existence of the actual agency

relationship.”     853 A.2d at 59.

     Faragher found “that the supervisor-employee relationship

provides access, and the power of the supervisor is such that the

employee who is faced with harassment by the supervisor is not in

a position to defend, as is normally true with a coworker.

[Faragher also] stated that recognition of liability for a

supervisor’s actions places the burden on the party that can

guard against misconduct through screening, training and

monitoring.”     Id. (citing Faragher, 524 U.S. at 803).       That party

is, of course, the employer.     In sum, Faragher “emphasized three

main considerations in applying § 219(2)(d) in the

supervisor-employee relationship: the opportunity for contact

created by the relationship; the powerlessness of the employee to

resist the supervisor and prevent the unwanted contact; and the

opportunity to prevent and guard against the conduct.”          Id. at 60


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(citing Faragher, 524 U.S. at 803).

     In Forrest, the Vermont Supreme Court similarly considered

“the extraordinary power that a law enforcement officer has over

a citizen,” explaining that this factor made the case “virtually

unique from a policy perspective.”       Id. at 61.    “This power is

especially pronounced when the tort is committed on a citizen the

law enforcement officer is charged with protecting.”          Id.

Forrest therefore held that “if plaintiff can show that an

on-duty law enforcement officer was aided in accomplishing an

intentional tort involving a sexual assault on the plaintiff by

the existence of the employment relationship with the law

enforcement agency, vicarious liability will apply.”          Id. at 67.

In doing so, the Vermont Supreme Court stated that “we have

narrowly tailored our holding so that we are confident that few

future cases will be controlled by it.”        Id.; see also Doe v.

Newbury Bible Church, 933 A.2d 196, 198-200 (Vt. 2007)

(acknowledging the narrow holding in Forrest and, on a question

certified from the Second Circuit Court of Appeals, holding that

a church is not vicariously liable for the acts of its pastor).

     The facts of the instant case are significantly different

from those presented in Forrest and Faragher.         Unlike police

officers or employment supervisors, Lindevaldsen and Hyden were

not placed by their employer in a uniquely powerful position that

enabled them to engage in wrongful conduct.        Instead, the


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allegations are that Lindevaldsen referenced her legal

representation of Lisa Miller in the course of her teaching

duties, and that Hyden and Lindevaldsen used University

telephones, email, and other resources to further the alleged

conspiracy.   These actions reflect an employment relationship

with the University, but not the sort of “aiding” that is

governed by Section 219(2)(d).      See, e.g., Burlington Industries

v. Ellerth, 524 U.S. 742, 760 (1988) (stating that liability

under Section 219(2)(d) “requires the existence of something more

than the employment relation itself”).

     Plaintiffs contend that employment by the University

“uniquely allowed Hyden to inconspicuously deliver Lisa Miller’s

communications from her hideout in Nicaragua to Lindevaldsen’s

desk at Liberty University.”      ECF No. 282 at 10.     Such access to

Lindevaldsen would have been true in any co-employment situation.

Furthermore, incorporating personal experience as a teaching

tool, as Lindevaldsen did with respect to her experience in

representing Lisa Miller, is common in educational institutions

and says little about the University’s responsibility for

Lindevaldsen’s allegedly-conspiratorial acts.

     Plaintiffs cite the University’s close relationship with

Liberty Counsel, including the fact that it allowed and

encouraged its students to work on Liberty Counsel cases.

Placing students in clinical settings is a common law school


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practice.    While the University allegedly touted its relationship

with Liberty Counsel, was housed in the same building, and had a

dean that founded Liberty Counsel’s law practice, none of those

relationships indicate a grant of authority that placed

Lindevaldsen and Hyden in a unique position to engage in the

alleged conspiracy.    Accordingly, upon reconsideration, the Court

finds that Plaintiffs have failed to allege plausible claims of

vicarious liability against the University with respect to either

the intentional tort cause of action or the civil rights claim.

                               Conclusion

     For the reasons set forth above, the University’s motion for

reconsideration (ECF No. 278) is granted, and its motion to

dismiss for lack of vicarious liability (ECF No. 237) is also

granted.    All claims against the University are dismissed.            The

University’s motion in the alternative for certification (ECF No.

278) and motion for a stay pending reconsideration (ECF No. 313)

are denied as moot.

     DATED at Burlington, in the District of Vermont, this 29th

day of August, 2018.

                            /s/ William K. Sessions III
                            William K. Sessions III
                            District Court Judge




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